          Case 1:16-cr-02006-EFS            ECF No. 385        filed 06/23/16       PageID.1018 Page 1 of 2
O PS 8
(3/15)


                                UNITED STATES DISTRICT COURT                                                 FILED IN THE
                                                                                                         U.S. DISTRICT COURT
                                                                                                   EASTERN DISTRICT OF WASHINGTON

                                                               for
                                                                                                     Jun 23, 2016
                                             Eastern District of Washington
                                                                                                        SEAN F. MCAVOY, CLERK


U.S.A. vs.                  PARISIAN, Leslee, Faye                        Docket No.             1:16-CR-02006-EFS-8

                                   Petition for Action on Conditions of Pretrial Release

COMES NOW Linda J. Leavitt, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant Leslee Parisian, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge Mary
K. Dimke in the Court at Yakima, Washington, on the 1st day of June 2016, under the following condition:

Condition #12: Defendant shall not use or unlawfully possess a narcotic drug or other controlled substances defined in 21
U.S.C. § 802, unless prescribed by a licensed medical practitioner. Defendant may not possess or use marijuana, regardless
of whether Defendant has been prescribed a medical marijuana card.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


The defendant is alleged to be in violation of her conditions of pretrial supervision in the Eastern District of Washington by:

Violation #1: Using non-prescribed medication, Percocet (Oxycondone), on June 12, 2016.


                             REQUESTING A SUMMONS BE ORDERED AT THIS TIME

                                                                            I declare under the penalty of perjury that the
                                                                            foregoing is true and correct.

                                                                            Executed on:       June 23, 2016

                                                                     by     s/Linda Leavitt

                                                                            Linda J. Leavitt

                                                                            U.S. Pretrial Services Officer
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THE COURT ORDERS

[ ]    No Action

[ ]    The Issuance of a Warrant

[ X]   The Issuance of a Summons

[ ]    The incorporation of the violations contained in this

       petition with the other violations pending before the

       Court.

[ ]    Defendant to appear before the Judge assigned to the case.

[ ]    Defendant to appear before the Magistrate Judge.

[ ]    Other
                                                                     Signature of Judicial Officer

                                                                    6/23/2016
                                                                     Date
